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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 24-80116-CR-CANNON


  UNITED STATES OF AMERICA,

        Plaintiff,

        vs.

  RYAN WESLEY ROUTH,

        Defendant.
                                   /

                  DEFENDANT RYAN ROUTH’S REPLY
     IN SUPPORT OF HIS MOTION TO COMPEL INDEPENDENT TESTING
               OR TO EXCLUDE GOVERNMENT’S EXPERT

                                       Introduction

        In response to Mr. Routh’s motion, the government recognizes that the

  subject firearm’s operability and accuracy is relevant and admissible to the

  government’s case. Notwithstanding, the government seeks to have this Court

  obstruct defense access to the firearm for inspection and testing thereby

  effectively impairing Mr. Routh’s defense. This Court should not countenance the

  government’s attempt to obstruct Mr. Routh’s Fifth and Sixth Amendment rights

  to a fair trial. Accordingly, Mr. Routh respectfully requests the Court grant his

  reasonable motion.




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        The government acknowledges the central question in this case is “whether

  the Defendant intended to kill President Trump and took a substantial step

  toward doing so, which is the heart of the crime charged in Count 1.” DE 115:6.

  Furthermore, the government asserts “evidence that the gun worked supports the

  Defendant’s intent to commit the charged offenses.” DE 115:13. But then the

  government advances a “heads the government wins, tails Mr. Routh loses”

  argument to oppose the defense’s reasonable request. Inexplicably, the

  government fails to appreciate that the converse is true: the firearm’s

  inoperability and inaccuracy is circumstantial evidence of the lack of criminal

  intent.

            Defense Evidence about the Firearm’s Operability and Accuracy
                             is Relevant and Admissible

        The Federal Rules of Evidence apply to both the government and the

  defense equally. See Fed. R. Evid. 1101 (providing that the Rules apply to

  “criminal cases and proceedings” and not specific parties). Regarding relevance,

  the Rules provide: “Evidence is relevant if: (a) it has any tendency to make a fact

  more or less probable than it would be without the evidence; and (b) the fact is of

  consequence in determining the action.” Fed. R. Evid. 401. Given the

  proportionality of the Federal Rules of Evidence and the government’s concession

  that the firearm’s operability and accuracy is relevant to an element of the




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  offense—intent—the defense’s request to introduce evidence of the firearm’s

  inoperability and inaccuracy to the jury should not be controversial.

        For example, if an assailant brought a toy gun to the scene to use as a prop,

  that evidence would be relevant to his lack of intent to kill. See, e.g., United States

  v. Henry, 797 F.3d 371, 375 (6th Cir. 2015) (finding in § 924(c) prosecution that

  court’s error affected defendant’s substantial rights because jury could have found

  him not guilty if they believed he thought a toy gun would be used). Similarly, a

  real gun, if inoperable or very inaccurate, would be circumstantial evidence that

  the assailant only possessed the gun as a prop. See id.

        In sum, the Constitution and the Federal Rules of Evidence do not permit

  different relevancy and admissibility standards depending on which side of the

  aisle you sit. Because the government has conceded the firearm’s operability and

  accuracy are relevant for its case, then this Court should find the evidence is

  relevant for the defense’s case.

                Rule 16 Requires that the Defense be Permitted
                        to Inspect and Test the Firearm

        The defense request to have our expert inspect and test the subject firearm

  also should not be controversial. See, e.g., United States v. Bachman, 23-cr-00304-

  VMC-(M.D. Fla. November 13, 2023) (DE 38:6–7)(government noting agreement

  to allow defense expert to examine and test fire subject firearms); United States

  v. Bostick, 15-cr-00182-(M.D. Tenn. April 4, April 13, and May 3, 2017) (DE 48,

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  52, 53)(defense continuance needed for their expert to examine a firearm at ATF;

  court order granting the continuance and requiring a joint status report regarding

  the firearm testing; joint notice of compliance notes the “test fire” took place 1).

         The defense request is not controversial because the discovery rules apply

  to both parties equally: “[r]ules about pretrial discovery in criminal prosecutions

  must apply to prosecutors as well as to defendants. See United States v. Fort, 472

  F.3d 1106, 1130 (9th Cir. 2007) (recognizing “rulemakers’ broader intent

  that Rule 16 create[s] reciprocal discovery rights and obligations between the

  government and the defendant). Specifically for purposes of this motion, access

  provided to private experts retained by the prosecution must be provided to

  private experts retained by the defense.” United States v. Shrake, 515 F.3d 743,

  747 (7th Cir.2008) (citing Sardius v. Oregon, 412 U.S. 470 (1973)). Rule 16 does

  not limit the types of evidence the defense may or may not inspect. Instead, Rule

  16 broadly permits, without any limitation, that the defense may inspect “tangible

  objects” within the government’s possession.

         To adopt the government’s contrary interpretation of Rule 16 would violate

  the Constitution. Mr. Routh has a constitutional right to present a complete

  defense. See Holmes v. South Carolina, 547 U.S. 319, 324-25 (2006) (internal

  quotations omitted) (holding the right to a complete defense “is abridged by


  1 Undersigned counsel consulted with the expert in the Bostick case and confirmed that he did test
  fire the firearm at the ATF facility.
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  evidence rules that infring[e] upon a weighty interest of the accused and are

  arbitrary or disproportionate to the purposes they are designed to serve.”)(cleaned

  up)); see also Crane v. Kentucky, 476 U.S. 683, 690 (1986) (acknowledging the

  constitutional right to a “meaningful opportunity to present a complete defense.”).

        The right to present a meaningful defense includes the right to call

  witnesses— including expert witnesses. See Taylor v. Illinois, 484 U.S. 400, 408-

  09 (1988); Washington v. Schriver, 255 F.3d 45, 56 (2d Cir. 2001). To give

  substance to this right, the defense’s expert must be able to inspect and test the

  firearm for regarding operability and accuracy which could result in relevant,

  admissible evidence which would corroborate Mr. Routh’s lack of intent. In

  compliance with this Court’s pre-trial order the defense has disclosed a testifying

  expert, who wishes to test fire the firearm in the presence of a defense firearm

  consultation expert. 2 Defense counsel are not firearms experts and cannot

  scientifically validate the government’s assertions about the firearm or to conduct

  our own testing. Denying defense access to this critical information, would not

  only violate Rule 16 but also the Fifth and Sixth Amendments.



  2 The defense has been very flexible regarding the logistics of inspection and testing
  and has offered various evidentiary safeguards as used in other firearm cases, child
  pornography cases, and drug cases. We offered the government options including an
  independent federal agent (evidence custodian) present at the defense testing lab
  during testing or during the testing at a federal facility. We have offered to test the
  firearm locally in the Southern District of Florida or at our expert’s lab in Atlanta.
  The government is unwilling to discuss or agree to any of these options.

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        Defense counsel have an obligation under the Sixth Amendment’s to “hold

  the prosecution to its heavy burden of proof beyond a reasonable doubt.” United

  States v. Cronic, 446 U.S. 648 (1984). Being a mere spectator or potted plant to

  the prosecution’s presentation of evidence will not meet the standard for effective

  assistance of counsel. Smith v. Wainwright, 777 F.2d 609 (11th Cir. 1985). As part

  of our constitutionally required due diligence, we are entitled to inspect and test

  the government’s evidence to determine the factual and scientific accuracy of the

  government’s case and to gather relevant defense evidence for the jury to consider.

        The government’s protests appear to indicate that they fear what the

  defense expert testing might reveal—exculpatory evidence under Brady v.

  Maryland. Perhaps that is why they chose not to do the testing themselves.

  Nevertheless, the defense is not limited to test only the materials the government

  has tested or test or inspect in the same manner as the government. See United

  States v. Pecina, 302 F.R.D. 492, 495 (N.D. Ind. 2014) (“I also agree with Pecina

  that his expert may use any method she chooses for analyzing her drug sample,

  subject, of course, to analysis of the methodology for reliability… It is the

  attorneys’ job to ensure that the jury and the Court understand the different

  methodologies and the merits of each, and can make an informed decision as to

  which expert evidence to trust. If the expert reports are not meaningfully

  comparable, the attorneys can make that argument and present evidence to


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  support it; I’m not going to decide that up front on the government’s say-so without

  evidence or explanation.”).

        Finally, defense testing will not result in any further degradation of the

  evidence. The government has already removed the scope and failed to preserve

  its original status-—making any testing of the scope’s accuracy or usefulness

  impossible. The government also removed the plastic tube at the end of the rifle,

  preventing any testing with that possible obstructive device on the rifle. The

  government argues that such testing should not be permitted 7 months after the

  incident, but if the firearm is being adequately maintained by the government,

  then it should be in the same condition as it was when collected, and in the same

  condition now and five months from now at trial. Notably, Rule 16 does not put a

  time limit on the defense inspection of physical items in the government’s

  possession. 3

        Any of the government’s suggestions that the defense has a burden to

  proffer evidence is a red herring. The is not a habeas petition and the defense

  bears no such burden where he is not yet convicted and presumed innocent. The

  government’s sweeping statements of guilt and their demands to know the

  statements of Mr. Routh may be due to their continued efforts to pry into the



  3 Our original request to test fire the firearm was made to the government on
  January 24, 2025. Defense counsel made the request after the process of finding and
  contracting with suitable experts, and the government stated that we could have
  further discussions after the firearm arrived to in our district from Quantico.
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  defense attorney work product and attorney-client privileged information. See

  also DE 115:12 (“What basis has the defense provided for believing that rifle was

  inoperable at the time of the offense? Has Routh himself said so?”). The defense

  continues to object to such inquiries.

                                      CONCLUSION

        The government conceded the materiality of the defense testing when they

  wrote the rifle “worked exactly as Routh intended it when he loaded it and set up

  his sniper hide on September 15.” See DE 115:7. The assailant’s intent is of

  paramount importance in this case, and the operability and accuracy of the

  firearm may provide the jury of evidence of that intent. As such, Mr. Routh

  respectfully requests that the Court compel the government to permit expert

  testing of the rifle seized in this case.


  Respectfully submitted,

  HECTOR A. DOPICO
  Federal Public Defender

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                            CERTIFICATE OF SERVICE

        I hereby certify that on April 9, 2025, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the

  foregoing document is being served this day on all counsel of record via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some

  other authorized manner for those counsel or parties who are not authorized to

  receive electronically Notices of Electronic Filing.


                                         s/ Kristy Militello
                                         Kristy Militello




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